                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                       DOCKET NO. 3:16-CR-00042-10-FDW-DSC


 UNITED STATES OF AMERICA,                       )
                                                 )
 vs.                                             )                    ORDER
                                                 )
 ERIC SCOTT TRUESDALE,                           )
                                                 )
           Defendant.                            )
                                                 )
       THIS MATTER is before the Court on Defendant’s “Motion to Suppress and Incorporated

Memorandum of Law” (Doc. No. 110) filed April 15, 2016, the United States’ “Response to

Defendant’s Motion to Suppress.” (Doc. No. 118), and the Magistrate Judge’s Memorandum and

Recommendation (“M&R”) (Doc. No. 158), filed on July 5, 2106, recommending that Defendant’s

motion be denied. Defendant filed an “Objection” on July 22, 2016. (Doc. No. 169). The United

States filed a “Response in Opposition” on August 1, 2016. (Doc. No. 176). After reviewing the

briefs, testimony and evidence presented before the magistrate judge, for the reasons set forth, the

Court OVERRULES Defendant’s objections, ACCEPTS and ADOPTS the M&R, and DENIES

Defendant’s Motion to Suppress.

                                    I. STANDARD OF REVIEW

       A district court may refer a motion to suppress to a magistrate judge for a recommendation

pursuant to Federal Rule of Criminal Procedure 59(b)(1). If a party timely files “specific written

objections” to the proposed recommendations, the “district judge must consider de novo any

objection to the magistrate judge’s recommendation.” FED. R. CRIM. P. 59(b)(3). Upon careful

review of the record, “the court may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1).




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                                          II. BACKGROUND

       For nearly two years, the Bureau of Alcohol, Tobacco, Firearms and Explosives, the Federal

Bureau of Investigations, the Union County Sheriff’s Office, and the Monroe Police Department

conducted a joint investigation into crack and powder cocaine distribution in the city of Monroe, North

Carolina. One of the targets of that investigation was Maurice Dupree Starnes and his residence, which

Defendant visited on February 25, 2015.

      Defendant is charged in a multi-count Indictment. The relevant portions of the Indictment

allege that between 2004 and August 19, 2015, Defendant conspired with other named individuals

to possess with intent to distribute both crack and powder cocaine in violation of 21 U.S.C. § 846;

that on or about February 25, 2015, Defendant aided and abetted and possessed with intent to

distribute powder cocaine in violation of 21 U.S.C. §§841(a)(1) and 841 (b)(1)(C); and that on or

about February 25, 2015, Defendant aided and abetted and possessed with intent to distribute

crack cocaine in violation of 21 U.S.C. §§841(a)(1) and 841 (b)(1)(C).

       On April 15, 2016, Defendant filed a Motion to Suppress seeking an order:

               …suppressing any and all evidence resulting from the improper
               seizure and search conducted on February 25, 2015. The seizure and
               search of [his] person violated the Fourth Amendment because
               officers lacked the requisite objectively reasonable suspicion of
               criminal activity on the part of Mr. Truesdale. …that statements
               attributed to him as a direct result of this illegal seizure and search
               also be suppressed, pursuant to the ‘fruit of the poisonous tree’
               doctrine.

(Doc. No. 110). On June 13, 2016, the magistrate judge conducted a hearing and the Government

called multiple law enforcement agents who were subjected to cross-examination by Defendant’s

counsel. Subsequently, the M&R was issued, Defendant timely filed his objections and the United

States filed a response. The Court has carefully reviewed the record, the transcription of the

suppression hearing, and finds the issues ripe for de novo review.



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                                     III. FINDINGS OF FACT

       Defendant makes a generalized objection of factual insufficiency to support the M&R

recommendation to deny his motion to suppress. (Doc. No. 169, para. 6). After conducting a

careful review of the M&R, the Court finds no error in, summarily agrees with, and adopts those

portions of the M&R to which no objection was raised.

                                 IV. DEFENDANT’S OBJECTIONS

       The Court now turns to Defendant’s six specific objection to the M&R and generalized

claim related to discovery.

       1. The M&R fails to mention that the initial text “occurred at approximately 1:00 p.m. on
          February 25, 2016” (sic).
       2. The M&R states that “around 4:50 p.m.” Mr. Starnes texted the CI that he was ready to
          conduct the drug deal that evening based on witness testimony not phone records.
       3. Paragraphs five through seven of the “Factual Background” section are irrelevant.
       4. The M&R failed to include that Mr. Starnes, the suspect under surveillance, had left the
          residence for approximately twenty minutes prior to the arrival of Defendant.
       5. The M&R failed to include that when Mr. Starnes left his residence prior to meeting with
          the CI, he drove towards a road known by law enforcement officers involved in this
          investigation to be where an indicted co-conspirator resides.
       6. The M&R incorrectly states that Mr. Starnes immediately departed his residence after
          Defendant left Mr. Starnes’ residence.
(Doc. No. 169, para. 4). Essentially, the Defendant objects to the magistrate judge’s findings to

support his argument that certain times are more relevant than others in determining reasonable

suspicion, and that the four and a half hours between the CI initiating text to the drug sale is

determinative for lack of reasonable suspicion. Defendant objects to not including the time of the

1:00pm text that coincided with the surveillance of Mr. Starnes because Mr. Starnes did not reply

that he was ready to sell the drugs until about 4:50pm. Defendant further objects that the evidence

was inadequate to show the actual timing of this later text that Mr. Starnes had the drugs because

no phone records were presented at the hearing. Presumably, this text could have occurred based



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on Mr. Starnes getting drugs from someone else because Defendant also objects that the magistrate

judge did not include the fact that Mr. Starnes left his residence before Defendant arrived and

drove toward a road where another co-conspirator resided, in order to assert that it is possible that

Mr. Starnes got his drugs from someone else. Defendant also objects to the magistrate judge

incorrectly stating that Mr. Starnes left his residence immediately after Defendant departed

because the facts show it was 5:04pm when Defendant departed and the drug sale happened nearly

40 minutes later and the actual drug sale did not occur until around 5:45pm. Defendant also objects

to the facts surrounding the traffic stop of the Defendant which occurred after he departed Mr.

Starnes residence and before the sale of drugs to the CI presumably because that is information

learned after law enforcement decided to stop the Defendant’s vehicle. The Court addresses the

objections below.

   A. DISCOVERY OBJECTION

       Defendant’s second objection contains two parts and appears to argue that the United States

did not comply with discovery requirements. The Court did not find any indication that the

Defendant raised these claims at the hearing before the magistrate judge.

       The Defendant is only entitled to the evidence the United States has in its possession,

custody, or control, Fed. R. Crim. Pro. 16(a)(1)(E). The government is not required to create items,

such as documents or records, not yet in existence. United States v. Schembari, 484 F.2d 931, 935

(4th Cir. 1973) (“The government cannot disclose what it does not have. . . .”); See United States

v. Cameron, 672 F. Supp. 2d 133, 137 (D. Me. 2009) (“Rule 16(a)(1)(E) by its terms is directed to

material that the government actually possesses and does not apply to a document until it is

created.”); United States v. Amaya-Manzanares, 377F.3d 39, 42-43 (1st Cir. 2004) (“Rule

16(a)(1)(E) did not apply to a the document until it was created.”); United States v. Kahl, 583 F.2d




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1351, 1354 (5th Cir. 1978) (upholding a district court’s refusal to grant discovery of government

statistical compilations, when such compilations did not exist).

       There appear to be no objections or requests for production raised by the Defense at the

suppression motion. The evidence at the hearing consisted of screen shots of the CI’s cell phone

and an audio recording with the CI that recorded the sound of an incoming text message to the CI

from Mr. Starnes that he was ready to conduct the drug sale at around 4:50pm. The United States

asserts that it has complied with its obligations. (Doc. No. 176, paras. 1, 5). The portion of

Defendant’s second objection alleging a discovery violation is without merit.

   B. IMPROPER OBJECTIONS TO FACTUAL FINDINGS

       Defendant’s first objection is that the M&R “fails to mention that the initial text occurred

at approximately 1:00 p.m. on February 25, 2016 (sic)”. (Doc. No. 169, para. 4a). The fourth and

fifth objections assert that the M&R failed to include two facts that show Mr. Starnes left the

residence before the Defendant arrived and drove in the direction of a road where an indicted co-

conspirator resided. Id. These are merely conclusory statements and not a proper objection.

       A district court may refer a motion to suppress to a magistrate judge for a recommendation

pursuant to Federal Rule of Criminal Procedure 59(b)(1). A party may file written objections to

magistrate judge’s memorandum and recommendation within fourteen days of being served with

a copy of the memorandum and recommendation. 28 U.S.C § 636(b)(1)(C). ‘“Any written

objections must specifically identify the portions of the Report and Recommendation to which

objections are made and the basis for such objections.”’ Morgan v. North Carolina Dep’t of Health

and Human Services, 421 F. Supp. 2d 890, 893 (W.D.N.C. 2006) (quoting Thomas v.

Westinghouse Savannah River Co., 21 F. Supp. 2d 551, 560 (D.S.C. 1997)); see also Battle v.

United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987) (“Parties filing objections must




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specifically identify those findings objected to.”). “Frivolous, conclusive or general objections

need not be considered by the district court.” Battle, 834 F.2d at 421. “An ‘objection’ that does

nothing more than state a disagreement with a magistrate’s suggested resolution, or simply

summarizes what has been presented before, is not an ‘objection’ as that term is used in this

context.” Aldrich v. Bock, 327 F. Supp. 2d 743, 747 (E.D. Mich. 2004); see also Jones v.

Hamidullah, No. 2:05-2736-PMD-RSC, 2005 WL 3298966 at *3 (D.S.C. Dec. 5, 2005) (noting a

petitioner’s objections to a magistrate judge’s report were “on the whole without merit in that they

merely rehash [the] general arguments and do not direct the court’s attention to any specific portion

of the [report].”). General or conclusory objections result not only in the loss of de novo review

by the district court but also in waiver of appellate review. Tyler v. Beinor, 81 F. App’x 445, 446

(4th Cir. 2003); United States v. Woods, 64 F. App’x 398, 399 (4th Cir. 2003). If proper objections

are made, a district court will review the objections under a de novo standard. 28 U.S.C. §

636(b)(1)(C). Absent a specific, proper, and timely filed objection, the Court reviews only for

“clear error,” and need not give any explanation for adopting the M&R. Diamond v. Colonial Life

& Acc. Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005); Camby v. Davis, 718 F.2d 198, 200 (4th Cir.

1983).

         The first, fourth, and fifth objections are comprised of one or two sentences stating a

conclusory disagreement with the Magistrate’s findings or facts that could have been added. None

of the objections set forth a basis for the objection or cite any law or facts to support the objection.

As to the first objection, Defendant desires that the fact of 1:00p.m. be included related to timing

of an initial text; however, Defendant’s second objection is that a time of 4:50p.m. was attributed

to a later text but the evidence for both times was the same testimony of Detective Black. Hence,

the Defendant appears to adopt the time frame of the initial text. The fourth and fifth objections




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are also only reflected in the testimony of the law enforcement agents as to time and duration.

       However, turning to the issue of error, it was not error for the magistrate judge to recite

every fact from the hearing and the M&R reflects that the magistrate judge was aware of the time

frame of the initial text. The second paragraph of the “Factual Background and Findings” ends as

follows:

               The CI sent a text message to Starnes asking “What’s Good.” Starnes
               replied “I’m go hit bra got to get it first.” Agents interpreted Starnes’
               message to mean that he needed to obtain the drugs first.

(Doc. No. 158, at 2). The third paragraph in the M&R begins:

               Monroe Police Detective Chandler Cathey began surveillance at
               Starnes’ residence around 12:56 p.m. Around 4:30 p.m. Cathey
               observed Starnes depart the residence in a black Cadillac that had
               been parked in the driveway. A gray SUV arrived approximately
               ten minutes later and parked in the driveway.

(Doc. No. 158, at 2). Hence, accepting that the 1:00p.m. timing is undisputed, the M&R confirms

that the magistrate judge was aware of the initiation of the drug sale and the several hour delay

between the arrival of the Defendant in a grey SUV. Id. The facts related to the travels of Mr.

Starnes prior to the arrival of the Defendant do not detract from the determination of reasonable

suspicion to stop the Defendant.

       Law enforcement was conducting a series of controlled drug purchases that day. Detective

Black testified that while doing a separate operation he was informed that a gray Chevrolet

Suburban arrived and shortly after that, Mr. Starnes returned to the residence and sent the CI, who

was with Detective Black at the time, a text that he was ready to make the drug sale. At the hearing,

the prosecution elicited the following testimony from Detective Black:

               Q. What if anything did you learn from Detective Cathey during the
               time you were conducting the drug transactions with Mr. Elliott?
               A. That Mr. Starnes was not moving much and that during this time
               a grey Chevrolet Suburban with South Carolina tag had pulled into



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               Mr. Starnes’ residence on Rosemeade.
               Q. After you had concluded the second drug transaction with Mr.
               Elliott what did you do?
               A. I believe the -- I believe Detective Cathey had informed us that
               the grey Chevrolet Suburban had arrived as we’re finishing up the
               second transaction with Mr. Elliott. Once they -- the deal was over,
               and the CI was coming back to the meet location went ahead had all
               other surveillance units proceed over to Rosemeade Drive so we
               could possibly follow the grey suburban away and attempt to ID the
               driver or see where the vehicle was going to go to.
               Q. Why did you have an interest in that grey Suburban at that time?
               A. During the debrief with the CI after the second drug deal with
               Mr. Elliott’s buy had finished doing the debrief and a text had come
               in on the CI’s phone from Mr. Starnes saying that he was ready.
               Q. Ready for what?
               A. Ready to conduct the drug transaction.

(Tr. 10-11). Law enforcement clearly indicated the basis for their interest in the Defendant’s

vehicle based on the facts that Mr. Starnes conveyed to the CI that he was ready to sell drugs

after the Defendant arrived. The timing of the text was collaborated by a recording of the

debriefing with the CI when the United States because it recorded the sound of the incoming text

from Mr. Starnes.

               Q. Going back to Government's Exhibit 2 [photograph of CI cell
               phone] when Mr. Starnes says, yeah, where you at. Do you recall
               what time that text message came in?
               A. Like I said I remember the text message coming in as we were
               debriefing the CI for Elliott's second buy. I recall it was
               approximately four fifty p.m. when that message came in and CI
               showed me.
               Q. Were you able to double check your recollection with anything?
               A. Yes it was.
               Q. What was that?
               A. It was the debrief from Mr. Elliott's buy.
               Q. The recording?

(Tr. at 13-14). The United States entered into evidence as Exhibit 4, a recording of the debriefing

between the CI and Detective Black. There was no objection by the Defense to Exhibit 4, nor was




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there any subsequent challenge to the authenticity of the recording or its time of recording. The

prosecutor continued:

               Q. Detective Black, did you hear a dinging noise at the end of that
               recording?
               A. I did.
               Q. What is that?
               A. That is the text message coming into the CI's phone from Mr.
               Starnes.
               Q. After the CI received this text message from Mr. Starnes what
               did you do next?
               A. Again you know notified surveillance tried to get down as quick
               as they can to set up on the area in attempt to follow this grey
               Chevrolet suburban Chevrolet try to get the it away from the house
               so we could identify the driver of the vehicle.

(Tr. at 14) During Cross-Exam, Mr. Smith confirmed that the recording occurred around 4:50pm

(Tr. at 31-32). Law enforcement established that their interest in Defendant arose because of his

arrival at Mr. Starnes house and the subsequent confirmation from Mr. Starnes that he was ready to

sell drugs to the CI. Accordingly, these objections are without merit.

   C. OBJECTIONS TO FACTUAL FINDINGS AND DISCUSSION SECTION

       Defendant’s second objection is that the M&R states that “around 4:50 p.m.” Mr. Starnes

texted the CI that he was ready to conduct the drug deal that evening. (Doc. No. 169, para. 4b). “This

testimony was based solely on the testimony of Detective Black’s recollection. The Government never

introduced either the CI or Mr. Starnes’ phone records to show the exact time that Mr. Starnes texted

the CI that he was ready to perform the drug deal.” Id. Defendant appears to raise the claim that the

magistrate judge erred in not requiring production of other tangible evidence. In addressing this

objection, the Court notes that a reviewing court must take a deferential standard regarding the

credibility of witnesses where the magistrate judge sits as trier of fact. See United States v. Stoots,

No. 97-4038, 1997 U.S. App. LEXIS 32787, at *2 (4th Cir. Nov. 20, 1997) (unpublished table

decision); McNairn v. Sullivan, 929 F.2d 974, 977 n.3 (4th Cir. 1991); United States v. Brooks,



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No. 1:05CR248-1, 2006 U.S. Dist. LEXIS 25626, at *3-4 (W.D.N.C. March 15, 2006). Here, the

magistrate judge listened to the testimony of the detective, including upon cross-examination, and

properly relied on the testimony of the detective in determining the fact of when the text from Mr.

Starnes to the CI occurred. As addressed above, this testimony was supported by the recording of

the debriefing of the CI which recorded the timing of the text from Mr. Starnes being received by

the CI.

          At the hearing, the testimony from Detective Black was consistent on direct and cross-

examination regarding the timing of the receipt of text messages between the CI and Mr. Starnes

at both relevant time frames. Detective Black testified that the initial text between the CI and Mr.

Starnes occurred at approximately 1:00pm. (Tr. at 7). This was not the first transaction involving

Mr. Starnes and law enforcement agents were already conducting surveillance of Mr. Starnes at

the time the initial text was made. (Tr. at 7). Likewise, Detective Black testified that the text

indicating that Mr. Starnes was ready to conduct a sale with the CI occurred at approximately

4:50pm. (Tr. at 13). Defense counsel asserts that the magistrate judge did not have the best

evidence in the form of the actual phone logs of the text messages (Doc. No. 169). However,

where the testimony of the witness was not challenged by Defense and even affirmatively asserted

by Defense Counsel in closing argument at the hearing, a credibility determination regarding the

testimony of the timing of the texts was unnecessary to determine the facts of the matter.

          This objection is without merit and the Court finds as fact that the first text message

occurred at approximately 1:00p.m., and the text regarding the drug sale occurred at approximately

4:50p.m.



          1. Facts and Evidence Obtained Before Stopping Defendant’s Vehicle.




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      Defendant’s sixth objection is that the M&R incorrectly states that Mr. Starnes

immediately departed his residence after Defendant left Mr. Starnes residence and that he

actually did not leave for approximately thirty minutes to complete the drug sale with the CI.

(Doc. No. 169, para. 4f). The Court will review this objection de novo.

       An officer may stop and briefly detain an individual for investigative purposes

provided there is “reasonable suspicion” based upon articulable facts that criminal activity is

afoot. Terry v. Ohio, 392 U.S. 1, 21 (1968). “Reasonable suspicion” takes into account the

totality of the circumstances, including the information known to the officer and any reasonable

inferences that may be drawn there from. United States v. Arvizu, 534 U.S. 266, 273-75

(2002); United States v. Foster, 634 F.3d 243, 246 (4th Cir. 2011). Terry recognized that

“reasonable suspicion” may be grounded in observations by officers of what appears to be

criminal conduct. 392 U.S. at 22-23. An officer must be able to identify “specific and

articulable facts which, taken together with rational inferences from those facts,” establish a

reasonable suspicion of criminal activity. Terry, 392 U.S. at 21. When applying this standard,

“[c]ourts are not remiss in crediting the practical experience of officers who observe on a

daily basis what transpires on the street.” United States v. Lender, 985 F.2d 151, 154 (4th

Cir. 1993). Since the intrusion resulting from an investigative stop is minimal, the reasonable

suspicion standard is not an onerous one. See, e.g., United States v. McCoy, 513 F.3d 405, 412-

13 (4th Cir. 2008) (experienced officer’s observation of vehicles parked briefly in store parking

lot where drug sales had previously occurred, then moved to a nearby lot where drug sales had

also occurred and where occupant of one vehicle got into the other vehicle for a short time,

after which that vehicle left at a high rate of speed as officer approached was sufficient to

constitute reasonable suspicion); United States v. Harris, 39 F.3d 1262, 1268-69 (4th Cir.




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 1994) (officer’s observation of man leaving apartment in a vehicle after confidential

 informant advised drug delivery was imminent constitutes reasonable suspicion to stop

 vehicle).

       Facts supporting a finding of “reasonable suspicion” include: (1) presence in a high crime

area, United States v. Black, 525 F.3d 359, 365 (4th Cir.), cert. denied, 129 S. Ct. 182 (2008);

(2) informant tips, including anonymous tips where there is independent corroboration,

Alabama v. White, 496 U.S. 325, 329-30 (1990); (3) lateness of the hour, Lender, 985 F.2d at

154; (4) observation by officers of what appears to be a drug transaction or other criminal conduct

based upon their experience, Terry, 392 U.S. at 22-23; (5) evasive conduct, United States v.

Vaughn, 700 F.3d 705, 711 (4th Cir. 2012)(breathing heavily along with other signs of

nervousness); (6) “furtive behavior,” United States v. Sims, 296 F.3d 284, 285-87 (4th Cir.

2002); and (7) “observing a bulge . . . in a suspect’s clothing . . . even if the suspect was stopped

only for a minor [traffic] violation.” United States v. Baker, 78 F.3d 135, 137 (4th Cir. 1996).

Under the collective knowledge doctrine, officers conducting an investigation are entitled to rely

on each other’s knowledge of facts in determining whether a suspect is committing a crime. See

United States v. Wells, 98 F.3rd 808, 810 (4th Cir. 1996)(“And, although the agent who

actually seized the weapon pursuant to the supervising agent’s instructions had no personal

knowledge that Wells was a convicted felon, it is sufficient that the agents collectively had

probable cause to believe the weapon was evidence of a crime at the time of the seizure.”).

       Here, law enforcement applied its collective knowledge from conducting a series of

controlled drug purchases from Mr. Starnes, the observations made that day, including the text

messages between Mr. Starnes and the CI. Detective Black directed another law enforcement

officer to conduct a stop of the Defendant at approximately 5:30p.m., prior to the actual drug sale




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by Mr. Starnes. Detective Richard Haywood was dispatched to initiate a traffic stop on the

Defendant based on the collective knowledge of law enforcement and their observations that day.

               Q. … how long did you follow that vehicle, do you know?
               A. Well with the traffic it was around 5:00 heavy traffic about 20,
               25 minutes roughly.
               Q. Okay. What happened next?
               A. One of the FBI case officers advised that we had probable cause
               to stop the vehicle and due to information they received through
               phone calls and then with the informant to stop the vehicle. I
               started calling for a marked unit to stop the car as not to burn my
               vehicle but there was not one close enough to me to stop it before
               they got in South Carolina soy initiated my lights and siren and
               stopped the vehicle on rocky river road just across.
               Q. Do you recall who put out the command to stop the vehicle?
               A. It was Detective black.
               Q. When he said that he had probable cause to stop it did he
               indicate in any way what that was.
               A. Based on the information between the control -- or the
               informant and Starnes, not having any product beforehand. As
               soon as the Suburban was leaving he said he’s good he was ready
               to make the sale we have probable cause to believe that Suburban
               actually brought the product to Starnes.

(Tr. at 65). Detective Haywood’s pursuit of the Defendant began when the Defendant left Mr.

Starnes’ residence. The timing of Mr. Starnes departure from his residence to complete the sale

to the CI is not relevant to the determination that law enforcement had reasonable suspicion to stop

the Defendant.     In further questioning, Detective Haywood also provided evidence that

demonstrates law enforcement had probable cause to search the Defendant’s vehicle because he

detected an odor of marijuana.

               Q.       Okay so how did you stop it what happened next?
               A.       I turned on my blue lights and siren because my vehicle is
               equipped with lights and siren.
               …
               Q.       What happened next?
               A.       I had the driver roll down the window I smelled a strong odor
               of marijuana inside the car. I had the female passenger step out of the
               car so I could speak to them about this situation.




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(Tr. at 66). Monroe Police Detective Barney Malone arrived to assist Haywood. As noted in

the next section, Detective Malone’s testimony below is further evidence of probable cause to

search the Defendant.

       Defendant’s sixth objection is aptly noted and the testimony at the hearing is clear that Mr.

Starnes did not immediately depart his residence after Defendant departed. However, the officers

had adequate factual basis and legal justification to stop the Defendant through collective

knowledge. See United States v. Wells, 98 F.3rd 808 (4th Cir. 1996). When Detective Haywood

initiated the traffic stop, he relied on the collective knowledge of the investigating officers

including the previous controlled buys from Mr. Starnes, texts between Mr. Starnes and the CI

about the impending drug transaction, Defendant’s arrival at Starnes’ residence carrying a plastic

bag, and Mr. Starnes’ text shortly thereafter that he was ready to make the sale. These articulable

facts amply support a finding of reasonable suspicion that criminal activity was afoot.

Furthermore, law enforcement leaders gave the order to stop Defendant prior to Mr. Starnes

departing his residence for the controlled purchase. Consequently, the Court denies this objection

upon de novo review of the record.

        2. Facts and Evidence Obtained After Stopping Defendant’s Vehicle.

        Defendant’s third objection is that paragraphs five through seven of the “Factual

 Background and Findings” section are irrelevant to the determination of whether or not law

 enforcement officers had reasonable suspicion to stop Defendant. (Doc. No. 169, para. 4c).

 The factual recitations in those paragraphs detail the interaction between law enforcement and

 the Defendant after his vehicle was pulled over by law enforcement shortly after leaving Mr.

 Starnes’ residence. (Doc. No. 158, at 3-4). The magistrate judge in the M&R properly

 determined that reasonable suspicion existed when law enforcement stopped the Defendant.




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 The additional facts and evidence arising during the stop were not considered by the magistrate

 in making the determination that officers had probable cause to believe the vehicle contained

 contraband.

       Once reasonable suspicion exists, officers may detain a person to ascertain his identity and

investigate further. See Adams v. Williams, 407 U.S. 143, 145-46 (1972). Officers may conduct

a limited protective frisk as they investigate. Terry, 392 U.S. at 27, 30. They may take such

steps as are reasonably necessary to protect their personal safety and preserve the status quo

during the stop. United States v. Hensley, 469 U.S. 221, 235 (1985). Thus officers may direct

the occupants of a vehicle that has been stopped for a traffic violation to step outside. This rule

applies to both drivers, Pennsylvania v. Mimms, 434 U.S. 106, 108-10 (1977), and passengers,

Maryland v. Wilson, 519 U.S. 408, 413-14 (1997), and is grounded in the particular dangers

officers face when dealing with suspects in vehicles.

       Where there is probable cause to believe that a vehicle contains contraband or evidence of

a crime, the “automobile exception” also applies and a vehicle that is “readily mobile” can be

searched without a warrant. See, e.g. Maryland v. Dyson, 527 U.S. 465, 466 (1999); see United

States v. Humphries, 372 F.3d 653, 658 (4th Cir. 2004)(odor of marijuana emanating from

vehicle gave officers probable cause to search vehicle).

       Detective Haywood testified that he detected an odor of marijuana and had the passenger

step out of the vehicle. (Tr. 66). Monroe Police Detective Barney Malone arrived at the scene

and had the Defendant step out of the vehicle. On direct examination, he stated:

               Q. Did you observe anything about Mr. Truesdale as he was
               stepping out?
               A. As he stepped out of the vehicle I backed up making sure I had
               eye contact with him and I was watching his hand. He took his right
               hand as he stepped out and he moved it towards his groin or




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              waistband area at which point I told him to stop to keep his hands
              where I could see him at all times.
              …
              A. After I told him to keep his hands where I could see them just
              for my safety and his safety I didn’t know what he was reaching
              for. I asked him to step back to the front of Detective Haywood’s
              vehicle in between Haywood’s vehicle and Mr. Truesdale vehicle.
              Q. Did he do that?
              A. He did.
              Q. What happened next?
              A. As he got back to the vehicle, I asked him if he would place his
              hands on detective Haywood’s truck. He walked back and he placed
              his hands hovering on the hood but not on the hood.
              …

(Tr. at 75-76). Detective Malone’s testimony reflects that law enforcement was observing the

Defendant’s “furtive behavior.” see United States v. Sims, 296 F.3d 284, 285-87 (4th Cir.

2002). Detective Malone further testified:

              A. As he hovered his hands he kept trying to make motions with both
              his hands to go to waistband groin area and I had to give commands
              to not do that to keep his hands on the hood. …
              Q. What happened next?
              A. I grabbed his hand placed it on the hood asked him to keep it
              right there that's when I started searching that immediate area he
              was trying to reach for not knowing I was going to find a weapon
              or contraband or whatever he was trying to reach for as soon as I
              started pat down I felt very large circular object as soon as I felt it I
              asked him what that was as I was bent over and grabbing his groin
              area whatever the object was he pushed away from the vehicle
              pushed me back and he was trying to flee from where I had him
              detained.

(Tr. at 76). Detective Malone’s testimony about the Defendant’s behavior is further evidence of

probable cause for searching the Defendant because of “evasive conduct.” see United States v.

Vaughn, 700 F.3d 705, 711.

              Q. How long do you believe the struggle was?
              A. Less than a minute he kept trying to mostly run away from the
              area and it took three or four of us to try to get him down on the
              ground.
              Q. Did he eventually get down on the ground?



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               A. He was forced on the ground by all the detectives involved and
               trying to get his hands around his back and we eventually got him
               handcuffed, yes.
               Q. Once you had him Truesdale handcuffed what did you do next?
               A. I went straight to the area that I had located that object just to
               make sure what it was. And as soon as I conducted my search I
               found an aluminum foil ball and inside that aluminum foil was
               plastic inside the plastic was white residue substance like cocaine.

(Tr. at 78). Courts may consider a suspect’s evasive behavior in analyzing the existence of

reasonable suspicion to believe that an individual is armed and dangerous. United States v. Griffin,

589 F.3d 148, 153 (4th Cir. 2009) (citing United States v. Mayo, 361 F.3d 802, 807-08 (4th Cir.

2004)). Here, the Court finds Detective Malone’s basis for his suspicion that a firearm or drugs

were present on the Defendant to be reasonable. Based on the evidence at the hearing, law

enforcement had probable cause to search the Defendant, whereupon they found contraband on his

person and searched his vehicle and recovered approximately $20,000.00.

       The M&R, in paragraphs five through seven of the “Factual Background and Findings”,

details the actions of law enforcement in asking the Defendant to exit his vehicle, to properly

search him for weapons after Defendant was acting in a manner that raised the officer’s concern

for safety, and that Defendant tried to run when being searched. (Doc. No. 158). Defendant’s

third objection is without merit.

       D. FRUIT OF THE POISONOUS TREE DOCTRINE

       The M&R determined that there was no violation of Defendant’s Fourth Amendment

rights under the “fruit of the poisonous tree” doctrine. Evidence seized as a result of an unlawful

search and seizure is subject to suppression as “fruit of the poisonous tree.” United States v.

Wong Son, 371 U.S. 471 (1963). The Defendant did not raise any objection to this finding by

the magistrate judge.




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       To the extent that this Court has conducted de novo review of the other objections, the

Court specifically determines that there was reasonable suspicion to conduct the traffic stop of

Defendant’s vehicle. Law enforcement had reasonable suspicion to stop and speak with Defendant

after they watched him meet with someone actively being investigated for drug dealing, who was

waiting for a re-supply of illegal drugs to sell to their CI, and, moments after the Defendant met

with the suspect, the suspect texted their CI that he was now ready to conduct a drug deal. The

Court specifically determines that law enforcement had probable cause to search the vehicle based

on an odor of marijuana; and that Defendant’s furtive behavior justified searching his person.

Consequently, there is no violation of the Defendant’s Fourth Amendment rights.

                                      V. CONCLUSION

       IT IS THEREFORE ORDERED that based on the aforementioned reasons and a thorough

review of the M&R and the record in this case, the Court ACCEPTS the Magistrate Judge’s

Memorandum and Recommendation as supported by the record and the conclusions of law are

consistent with current case law. (Doc. No. 158). Accordingly, the Court OVERRULES all

Defendant’s objections and ACCEPTS and ADOPTS the M&R’s recommendation that

Defendant’s Motion to Suppress Evidence (Doc. No. 110) be DENIED.

       SO ORDERED.




                                       Signed: September 2, 2016




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